USDC IN/ND case 2:16-cv-00277-JVB-PRC document 30 filed 11/30/16 page 1 of 3


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION


DENNIS R. SERAMUR d/b/a DENNIS &               )
SONS BUILDERS, individually and as the         )
representative of a class of similarly         )
situated persons,                              )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )      CAUSE NO.: 2:16-CV-277-JVB-PRC
                                               )
ROTOBRUSH INTERNATIONAL LLC                    )
and JOHN DOES 1-5,                             )
                                               )
               Defendants.                     )


                                     OPINION AND ORDER

       This matter is before the Court on Defendant Rotobrush International LLC’s Motion to

Transfer Venue [DE 12], filed by Rotobrush International LLC (“Rotobrush”) on September 2, 2016.

Defendant asks the Court to transfer venue to the Northern District of Texas pursuant to 28 U.S.C.

§ 1404(a). Plaintiff filed a response on November 29, 2016, indicating that he does not oppose the

motion.

       In the Complaint, Plaintiff alleges that Rotobrush sent him unsolicited facsimile messages

in May and June 2016 in violation of the Telephone Consumer Protection Act of 1991, as amended

by the Junk Fax Prevention Act of 2005, 47 U.S.C. § 227. Plaintiff is a resident of Indiana.

Rotobrush is headquartered and has its principal place of business in Grapevine, Texas. Through an

Affidavit attached to its motion, Rotobrush states that it did not transmit the facsimiles attached to

the Complaint. Rotobrush states that it contracted with ProFax, Inc. to transmit the facsimiles and

that ProFax, Inc. is a New York Corporation with its headquarters and principal place of business
USDC IN/ND case 2:16-cv-00277-JVB-PRC document 30 filed 11/30/16 page 2 of 3


in Hicksville, New York.

        Section 1404, which applies to requests for transfer of venue in cases where venue is proper

in the transferor court, provides: “[f]or the convenience of parties and witnesses, in the interest of

justice, a district court may transfer any civil action to any other district or division where it might

have been brought or to any district or division to which all parties have consented.” 28 U.S.C. §

1404(a); see also Coffey v. Van Doren Iron Works, 796 F.2d 217, 219-20 (7th Cir. 1986).

        Venue is proper in this Court because Plaintiff is an Indiana resident, facsimiles attached to

the Compliant were allegedly received within this judicial district, and Rotobrush transacts business

and/or committed tortious acts in this state. See 28 U.S.C. § 1391(b)(2). The transferee court, the

Northern District of Texas, is a district in which this suit “might have been brought” because

Rotobrush is headquartered and has its principal place of business there. See 28 U.S.C. § 1391(b)(1),

(c)(2). In addition, Plaintiff does not object to the transfer of venue to the Northern District of Texas.

        Finally, the Court finds that the convenience of the parties and the interest of justice are

served by a transfer of venue. Rotobrush and all of its employees are located in the Northern District

of Texas. Minimizing business disruption, inconvenience, and economic loss weigh in favor of

transfer. Although the named Plaintiff is located in Indiana, it is likely that class plaintiffs

(approximately 40) will be located in multiple other states and districts. Finally, Rotobrush

represents that none of its witnesses is likely from Indiana and that all of its witnesses are likely

located in the Northern District of Texas. Non-party (third party defendant) witnesses,

representatives of ProFax, are located in New York; the difference between travel from New York

to Indiana and New York to Texas is negligible.




                                                    2
USDC IN/ND case 2:16-cv-00277-JVB-PRC document 30 filed 11/30/16 page 3 of 3


       Accordingly, the Court hereby GRANTS Defendant Rotobrush International LLC’s Motion

to Transfer Venue [DE 12]. The Clerk of this Court is DIRECTED to transfer this case to the

United States District Court for the Northern District of Texas for all further proceedings.

       SO ORDERED this 30th day of November, 2016.

                                              s/ Paul R. Cherry
                                              MAGISTRATE JUDGE PAUL R. CHERRY
                                              UNITED STATES DISTRICT COURT




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